      Case 4:11-cr-00340 Document 347 Filed on 08/29/12 in TXSD Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-340 ( 3, 9, 10)
                                                  §
                                                  §
THUONG THOMAS-MORE VO                             §
STEVEN MARSHALL BOEHNING                          §
HUNG VAN DANG                                     §

                                             ORDER

       The jury in the above captioned case retired to deliberate on August 29, 2012 and advised

the court that the jury will continue it deliberations through the lunchtime meal. The Clerk is hereby

ordered to provide the lunch meal for the jury. This order is directed to the Financial Section for

reimbursement to the Clerk providing the meal.

               SIGNED on August 29, 2012, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
